                                                                                          05/22/2019

                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION

     CYNTHIA B. SCOTT, ET AL.,
                                                      CASE NO. 3:12-cv-00036
                                     Plaintiffs,
                          v.
                                                      AMENDED INJUNCTION
     HAROLD W. CLARKE, ET AL.,
                                                      SENIOR JUDGE NORMAN K. MOON
                                     Defendants.

         In accordance with the Court’s post-trial Findings of Fact and Conclusions of Law (dkt.

  544) as supplemented with additional findings of fact and conclusions of law filed this day, it is

  ORDERED as follows:

         1) Plaintiffs’ Motion to Alter or Amend Judgment Pursuant to Fed. R. Civ. P. 59(e) (dkt.

             554) is GRANTED IN PART to the extent the January 2, 2019 Injunction (dkt. 545)

             is altered or amended by this Amended Injunction and is DENIED IN PART in all

             other respects.

         2) Defendants’ Motion Pursuant to Rule 59(e) (dkt. 556) is GRANTED IN PART to the

             extent the January 2, 2019 Injunction (dkt. 545) is altered or amended by this Amended

             Injunction and is DENIED IN PART in all other respects.

         3) Pursuant to Federal Rule of Civil Procedure 65(d)(1)(A), this Amended Injunction is

             issued for the reasons set forth in the Court’s original and additional findings of fact

             and conclusions of law: namely, the Court has jurisdiction to enforce the terms of the

             parties’ Agreement to provide for constitutionally adequate medical care, and

             Defendants are in violation of those terms.

         IT IS FURTHER ORDERED that the Court’s January 2, 2019 Injunction (dkt. 545) is

  ALTERED AND AMENDED as follows:



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        4) Paragraph 5a. of the Injunction (dkt. 545) is amended to read: “consistently staff the

           Medical Department at FCCW with at least the equivalent of seventy-eight (78) full-

           time personnel (certified and noncertified medical personnel), including at least the

           equivalent of twenty-nine (29) full-time registered nurses. Defendants shall document

           their daily staffing levels and make such document(s) available to the compliance

           monitor.”

        5) Paragraph 5b. of the Injunction (dkt. 545) is amended to read: “train FCCW nurses, and

           any other individuals who administer, order or manage medications to or for Plaintiffs,

           on how and when to reorder or refill medications to ensure a continuity of supply.”

        6) Paragraph 5c. of the Injunction (dkt. 545) is amended to read: “train FCCW nurses on

           the importance of, and how to, accurately record or chart the administration of

           medication, as well as a patient’s vital signs, including but not limited to weight and

           pulse rate.”

        7) Paragraph 12 of the Injunction is revised by the addition of the following sentence:

           “For the purposes of the requirements of this paragraph, “grievances” shall mean all

           levels of the grievance process, including informal complaints and emergency

           grievances.”

        8) This Amended Injunction takes effect immediately upon its entry provided that

           Defendants shall have 45 days from the date of entry to comply with the requirements

           of Injunction Paragraph 5a., as amended herein. The Settlement Agreement remains in

           effect. The January 2, 2019 Injunction (dkt. 545) remains in effect except as altered or

           amended herein.




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                      22nd
        ENTERED this ______ day of May, 2019.




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